      Case 2:17-cv-06197-EEF-MBN Document 190 Filed 06/17/20 Page 1 of 1



MINUTE ENTRY
FALLON, J.
JUNE 17, 2020

                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA



ADRIAN CALISTE ET AL                                                        CIVIL ACTION

VERSUS                                                                      NO. 17-6197

HARRY E. CANTRELL                                                           SECTION "L" (5)



       A telephone status conference was held on this date in the Chambers of the Honorable

Eldon E. Fallon. Eric Foley participated on behalf of Plaintiffs. Mindy Duffourc and Dennis Phayer

participated on behalf of Defendant Harry Cantrell. The parties discussed the effect of a recent

legislative change on the status of the case. Plaintiffs represented that they intended to withdraw

the pending motion for a permanent injunction.




 JS10(00:07)
